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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


AMERICAN            ENVIRONMENTAL
ENTERPRISES,  INC.,     d/b/a THE
SAFETYHOUSE.COM,

                         Plaintiff,

v.
                                                       CIVIL ACTION
MANFRED STERNBERG, ESQUIRE, and
MANFRED STERNBERG & ASSOCIATES, PC, No. 2:22-CV-0688 (JMY)
and CHARLTON HOLDINGS GROUP, LLC, and
SHLOMO GROSS a/k/a SAMUEL GROSS, and
GARY WEISS, and A.SOLAR, LLC, and
DAPHNA      ZEKARIA, ESQUIRE, and
SOKOLSKI & ZEKARIA, P.C.

                         Defendants


     MOTION FOR PROTECTIVE ORDER OF DEFENDANTS, DAPHNA ZEKARIA,
                  ESQUIRE, and SOKOLSKI & ZEKARIA, P.C.

       AND NOW, Rebar Kelly, files this within Motion with this Honorable Court for a Protective

Order, and in support thereof states as follows:

       1.      Plaintiffs initiated this action by filing a Complaint on or about February 23, 2022.

       2.      The Movant in this matter is Rebar Kelly, who has been representing the Daphan

Zekaria and Sokolski & Zekaria, P.C. (hereinafter “Zekaria Defendants”) in this action.

       3.      Defendant, Daphna Zekaria is an adult individual.

       4.      Defendant, Sokolski & Zekaria, P.C., is a Professional Corporation established and

operating under the laws of the State of New York.

       5.      On April 12, 2024, Rebar Kelly filed a Motion to Withdraw as counsel for the Zekaria

Defendants. (See ECF Doc. 163)




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        6.       On April 25, 2024, this Court issued a Order scheduling a hearing on this Motion for

Thursday, June 13, 2023 at 12:30 p.m. (See ECF Document 165, attached hereto as Exhibit “A”).

        7.       In addition for the reasons set forth in the original Motion to Withdraw, the Zekaria

Defendants have also not fully paid Rebar Kelly for the legal services rendered on their behalf on this

within matter.

        8.       Despite the scheduling of the hearing on the Motion to Withdraw and despite knowing

that Rebar Kelly is not being paid, Plaintiffs’ counsel has unilaterally scheduled the depositions of the

Zekaria defendants on two occasions, May 14 and May 28, 2024. See Exhibit “B”, pp. 001, 004-

005.

        9.       When the depositions were noticed, undersigned counsel informed Plaintiff’s counsel

that he was not available for depositions on either day. Id., pp. 002 and 006.

        10.      Despite the pendency of the hearing on the Motion to Withdraw and the fact that Rebar

Kelly, and the fact that Rebar Kelly is not being paid for its legal services, counsel for Plaintiff has

threatened Motion practice if the Zekaria defendants do not appear for depositions.

        11.      Under the Federal Rules of Civil Procedure, the Court “may for good cause, issue

an order to protect a party or person from annoyance, embarrassment, oppression, or undue burden

or expense.” Fed. R. Civ. P. 26(c)(1). Fraternal Ord. of Police Pennsylvania Lodge v. Twp. of

Springfield, 668 F. Supp. 3d 375, 384 (E.D. Pa. 2023)

        12.      Given the above facts, good cause exists for the granting of this protective order, as it

would be an undue burden and expense to the Zekaria defendants and Rebar Kelly to appear for

depositions while the Motion to Withdraw as counsel is pending.

        13.      This case has not been scheduled for trial.

        14.      All counsel and parties have been served with this Motion.




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       15.    Accordingly, it is respectfully requested that the Court enter an Order preventing

any party from noticing the depositions of the Zekaria defendants and/or conducting any discovery

against the Zekaria defendants until a decision is made on the pending Motion to Withdraw.

                                                   Respectfully submitted

                                                   REBAR KELLY


                                                   ____________________________________
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                                                   Patrick J. Healey, Esquire (ID# 63155)
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                                                   Attorneys for Defendants, Daphna Zekaria,
                                                   Esquire and Sokolski & Zekaria, P.C.

DATE:         May 23, 2024




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